                        Case 24-01396-PDR    Doc 8       Filed 11/22/24    Page 1 of 2




         ORDERED in the Southern District of Florida on November 22, 2024.



                                                          Peter D. Russin, Judge
                                                          United States Bankruptcy Court
_____________________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

         In re:
                                                          CASE NO.: 24-14482(PDR)
         Roi Neeman,
                                                          CHAPTER 7
                  Debtor.                            /

         Jessica Piafsky,                                 ADV. NO.: 24-01396-PDR

                  Plaintiff,
         v.

         Roi Neeman,

                  Defendant.                         /

                       ORDER CONTINUING SCHEDULING CONFERENCE

                  THIS MATTER came before the Court ore tenus at the Scheduling Conference

         held on November 13, 2024 as the pro se Defendant’s Unopposed Motion to Continue

         Hearing (the “Motion”). Having considered the Motion, finding good cause, and noting

         the Plaintiff does not oppose the motion;
              Case 24-01396-PDR        Doc 8    Filed 11/22/24   Page 2 of 2




       IT IS ORDERED that:

       1.     The Motion is GRANTED.

       2.     The Scheduling Conference (ECF No. 3) in this matter is CONTINUED to

Wednesday, January 15, 2025 at 10:00 a.m., (the “Continued Scheduling Conference

Date”) at the United States Bankruptcy Court, 299 East Broward Blvd., Courtroom

301, Fort Lauderdale, FL 33301.

       3.     Although the Court will conduct the hearing in person, the Court has

specific guidelines on the Court’s webpage (https://www.flsb.uscourts.gov/judges/judge-

peter-d-russin) regarding who may attend remotely.

       4.     All related deadlines set forth in the Scheduling Order (ECF No. 3) are

continued in accordance with the Continued Scheduling Conference Date.

                                            ###

Submitted by:
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Copies furnished to: David W. Berenthal, Esq.

David W. Berenthal, Esq. is directed to serve a copy of this order on all interested parties
who do not participate in the CM/ECF system and to file a certificate of service with the
Court.


                                         Page 2 of 2
